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                           The Honorable Jed S. Rakoff
                           U.S. District Judge
                           Daniel Patrick Moynihan
                           United States Courthouse
                           500 Pearl St.
                           New York, NY 10007-1312

                           Re:     Gov’t of the U.S. Virgin Islands v. JPMorgan Chase Bank, No.
                                   1:22-cv-10904 (JSR) — Request for Unsealing of Filed Deposition
                                   Testimony

                           Dear Judge Rakoff:

                           I write on behalf of The New York Times Company (“The Times”) to
                           request the unsealing of certain deposition testimony that has been filed
                           with the Court as part of motion practice in the above-referenced matter.
                           Specifically, The Times seeks to unseal excerpts from the March 3, 2023,
                           deposition of Plaintiff Jane Doe 1, which have been submitted on the
                           docket as exhibits related to motions for summary judgment. 1 See Dkts.




        1
          The Second Circuit and this Court specifically have consistently held that third-party news organizations have
        standing to intervene for the purpose of seeking access to judicial records and proceedings. See In re
        Application of Dow Jones & Co., 842 F.2d 603, 608 (2d Cir. 1988) (allowing media intervention to challenge
        trial gag order); Diversified Grp. v. Daugerdas, 217 F.R.D. 152, 157 (S.D.N.Y. 2003) (“[Media outlets] may
        intervene in this action for the limited purpose of asserting the public’s right of access to the sealed documents.”
        (cleaned up)).




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                 265-4; 326-57. 2 In deference to their privacy interests, The Times is not
                 seeking to unseal the name of Jane Doe or any other victim in this filing.

                 As this Court knows, this proceeding was brought by the U.S. Virgin
                 Islands against JP Morgan Chase Bank, alleging the bank facilitated
                 Jeffrey Epstein’s network of sex trafficking and benefited from this
                 conduct. Though the case ended in settlement, Dkt. 348, there is still a
                 salient public interest in transparency around Mr. Epstein’s misconduct
                 and the network facilitating it. Unsealing of the excerpts would provide
                 additional insight into not merely Mr. Epstein’s abuse of women, but also
                 the powerful people and institutions around him who may have been
                 aware of his activities but failed to intervene. And given the new and
                 ongoing litigation related to Mr. Epstein’s activities, that understanding
                 continues to be salient. 3

                  “The notion that the public should have access to the proceedings and
                 documents of courts is integral to our system of government.” United
                 States v. Erie County, 763 F.3d 235, 238-39 (2d Cir. 2014). “[P]ublic
                 monitoring of the judicial system fosters important values of quality,
                 honesty, and respect for our legal system.” Siedle v. Putnam Invs., Inc.,
                 147 F.3d 7, 9-10 (1st Cir. 1998) (cleaned up). Equally well-settled under
                 both the First Amendment and the common law is that the “the burden of
                 demonstrating that a document submitted to a court should be sealed rests
                 on the party seeking such action.” DiRussa v. Dean Witter Reynolds, Inc.,
                 121 F.3d 818, 826 (2d Cir. 1997). Yet no party has made a “particular and
                 specific demonstration of fact showing that disclosure would result in
                 injury . . . sufficient to overcome the presumption of access.” Giuffre v.
                 Maxwell, No. 15-cv-7433 (S.D.N.Y. Dec. 18, 2023), ECF No. 1315




2
  The two exhibits at issue are: Decl. of Felicia H. Ellsworth in Support of JPMorgan Chase Bank, N.A’s Opp’n
to the Gov’t’s Mot. for Partial Summary Judgment, Ex. 128, ECF No. 265-4; Decl. of Felicia H. Ellsworth in
Support of JPMorgan Chase Bank, N.A’s Opp’n to Third Party Defendant’s Mot. for Summary Judgment, Ex.
57, ECF 326-57.
3
 See, e.g., Bensky v. Indyke, No. 24-cv-1204 (S.D.N.Y. Feb. 16, 2024); Matthew Goldstein, Two of Epstein’s
Closest Advisers Are Sued by His Victims, N.Y. Times (Feb. 16, 2024),
https://www.nytimes.com/2024/02/16/business/epstein-advisers-lawsuit.html.

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      (cleaned up) (quoting DiRussa, 121 F.3d at 825 & Lytle v. JPMorgan
      Chase, 810 F. Supp. 2d 616, 630 (S.D.N.Y. 2011)).

      Jane Doe 1’s deposition was also designated confidential pursuant to the
      Protective Order in this proceeding. See Dkts. 268 ¶ 76; 326 ¶ 58.
      However, “the existence of a protective order covering a document is not,
      in and of itself, sufficient grounds to seal or redact that document.” In re
      Keurig Green Mt. Single-Serve Coffee Antitrust Litig., No. 14-md-2542,
      2023 U.S. Dist. LEXIS 8010, at *36 (S.D.N.Y. Jan. 17, 2023).

      1. The Common Law Right of Access Requires Unsealing

      In analyzing the accessibility of records under the common law, “court[s]
      must first conclude that the documents at issue are indeed ‘judicial
      documents’” subject to the common law right of access, then “determine
      the weight of that presumption” of access, and finally “balance [any]
      competing considerations against it.” Lugosch v. Pyramid Co. of
      Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006) (quoting United States v.
      Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995)).

      Judicial documents are those “relevant to the performance of the judicial
      function and useful in the judicial process” — in other words, documents
      that “would reasonably have the tendency to influence a district court’s
      ruling on a motion or in the exercise of its supervisory powers.” Brown v.
      Maxwell, 929 F.3d 41, 49 (2d Cir. 2019). “[D]ocuments submitted to a
      court for its consideration in a summary judgment motion are - as a matter
      of law - judicial documents to which a strong presumption of access
      attaches, under both the common law and the First Amendment.” Lugosch,
      435 F.3d at 121.

      And here, the public interest in disclosure is compelling. Public interest in
      access is always at its apex when the government is a litigant because “it is
      essential that the people themselves have the ability to learn of, monitor,
      and respond to the actions of their representatives.” Erie County, 763 F.3d
      at 239. But more specifically, transparency in Epstein-related litigation
      helps assure the public that the court system is holding to account the



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                 powerful figures who played a role in Mr. Epstein’s crimes. 4 The public
                 has a vested interest in knowing as fully as possible whether social,
                 financial, or political influence was misused to protect Mr. Epstein and his
                 activities, and how the judicial system has responded. This principle was
                 well-reflected in Judge Preska’s unsealing of material in a separate
                 proceeding in this district against Ghislaine Maxwell, an associate of Mr.
                 Epstein’s. 5

                 Jane Doe 1’s deposition testimony is especially relevant to the public
                 interest because, as noted in their brief, it was material to JPMorgan’s
                 decision to implead Mr. James Staley for his involvement in Mr. Epstein’s
                 network. See Dkt. 324 at 21.

                 The most pertinent countervailing interest against unsealing would be “the
                 privacy interests of those resisting disclosure.” Bernstein, 814 F.3d at 143.
                 But The Times does not seek the name of Jane Doe 1 or any other victim
                 of Mr. Epstein, whose requests for anonymity are understandable.
                 Targeted redaction of their names and other identifying information, rather
                 than wholesale sealing, strikes the appropriate, required balance between
                 the presumption of access and the victims’ legitimate privacy interests.
                 See United States v. Amodeo, 44 F.3d 141, 147 (2d Cir. 1995).

                 2. The First Amendment Right of Access Independently Requires
                    Unsealing

                 Independent of the common law, the First Amendment right of access
                 attaches to many kinds of judicial records and provides a further basis for
                 public access. To determine whether the constitutional right attaches,
                 courts first determine whether the materials at issue are judicial documents
                 under the same standard employed by the common law: whether the
                 documents are “relevant to the performance of the judicial function and
                 useful in the judicial process.” Brown, 929 F.3d at 49. The courts are then

4
 See, e.g., Jodi Kantor, Mike McIntire & Vanessa Friedman, Jeffrey Epstein Was a Sex Offender. The Powerful
Welcomed Him Anyway., N.Y. Times (July 13, 2019), https://nyti.ms/3ODi6Ht.
5
 Matthew Goldstein & Benjamin Weiser, Unsealed Documents Shed Light on Epstein’s Misdeeds, and Little
Else, N.Y. Times (Jan. 3, 2024), https://www.nytimes.com/2024/01/03/nyregion/jeffrey-epstein-court-
documents.html; Giuffre v. Maxwell, No. 15-cv-7433 (S.D.N.Y.).


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      instructed to apply the Supreme Court’s “experience and logic” test. The
      experience prong looks to whether the records and processes at issue
      “have historically been open to the press and general public,” while the
      logic prong examines “whether public access plays a significant positive
      role in the functioning of the particular process in question.” Press-Enter.
      Co. v. Super. Ct. of Calif. (Press-Enterprise II), 478 U.S. 1, 8 (1986).

      Those threshold requirements for triggering the First Amendment right are
      met. Again, “documents submitted to a court for its consideration in a
      summary judgment motion are - as a matter of law - judicial documents to
      which a strong presumption of access attaches, under both the common
      law and the First Amendment.” Lugosch, 435 F.3d at 121.

      Under the First Amendment analysis, the records cannot be kept from the
      public “unless specific, on the record findings are made demonstrating that
      ‘closure is essential to preserve higher values and is narrowly tailored to
      serve that interest.’” Press-Enterprise II, 478 U.S. at 13-14 (quoting
      Press-Enter. Co. v. Super. Ct. of Calif. (Press-Enterprise I), 464 U.S. 501,
      510 (1984)). Notably, that burden is more stringent than the one imposed
      by the common law. Lugosch, 435 F.3d at 126. And for the same reasons
      set forth above with respect to the common law right, the First
      Amendment right of access to the document at issue is not overcome by
      any countervailing interest. For this reason, these excerpts of deposition
      testimony should be unsealed under the First Amendment as well as the
      common law.

      We thank the Court for its consideration of this matter.

      Respectfully submitted,




      David E. McCraw




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